Case 1:05-cr-00068-RDA Document 173 Filed 08/24/17 Page 1 of 5 PageID# 137




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division



UNITED STATES OF AMERICA


V.                                               Criminal Case No. l:05-cr-68


NICK HALTEH,

     Petitioner.



                               Memorandum Opinion


     THIS    MATTER    comes        before     the     Court      on     Petitioner      Nick

Halteh's {"Petitioner") Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255.

     Petitioner has filed this petition under 28 U.S.C. § 2255

seeking to challenge his conviction under 18 U.S.C. § 924(c).

Petitioner contends that he is entitled to relief on collateral

review under Johnson v. United States, 135 S. Ct. 2551 (2015),

and Welch v. United States, 136 S. Ct. 1257 (2016). Petitioner

is seeking to extend Johnson and Welch beyond their Armed Career

Criminal    Act    context     to   §    924(c)(3)(B)        on    collateral      review.

Because    his    conviction    has     been    final for         more    than   one    year,

however,    Petitioner    fails         to    satisfy   28 U.S.C. § 2255(f)(3),

which provides the only available exception to the collateral

review     statute's     one-year            statute    of     limitations.            For   a

defendant to satisfy § 2255(f)(3), the Supreme Court itself must
Case 1:05-cr-00068-RDA Document 173 Filed 08/24/17 Page 2 of 5 PageID# 138
Case 1:05-cr-00068-RDA Document 173 Filed 08/24/17 Page 3 of 5 PageID# 139
Case 1:05-cr-00068-RDA Document 173 Filed 08/24/17 Page 4 of 5 PageID# 140
Case 1:05-cr-00068-RDA Document 173 Filed 08/24/17 Page 5 of 5 PageID# 141
